Case 2:05-cV-02338-.]P|\/|-de Document 4 Filed 07/19/05 Page 1 of 2 Page|D 1

Fll.ED BY .,_ ___1,_ D.O.
UNITED STATES DISTRICT COURT05 JUL |9 PH 3 ha
WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION CLE%U§; nsmmm
G“H3MWHB
HARRY SIMMONS; JUDGMENT IN A CIVIL CASE
Plaintiff,
v.
REGI?NAL MEDICAL cENTER, CASE NO$ 05-2338 lev
e a .,

Defendants.

 

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in
accordance with the Order Assessing $250 Civil Filing Fee, Order
of Dismissal Order Certifying Appeal Not Taken in Good Faith,

and Notice of Appellate Filing Fee, entered July EZ, 2005, this
case is DISMISSED.

APPROVED:

mw

ON . MCCALLA
ED STATES DISTRICT JUDGE

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Wcij// Clerk Of Court
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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02338 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Harry Simmcns

SHELBY COUNTY .TUSTICE CENTER
04 1 l 6045

201 Poplar

Memphis7 TN 38103

Honcrable J on McCalla
US DISTRICT COURT

